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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES et al.                                 :       Case No. 3:17-cv-00072

                     Plaintiff                             :       Judge MOON


                                                           :
            -v-

    JASON KESSLER et al.                                   :

                                                           :
                     Defendants

    _______________________________________________________

                  DECLARATION OF JAMES E. KOLENICH
    _______________________________________________________

            Mr. James E. Kolenich, having been duly cautioned, declares and states as follows:


       1.         This declaration is based on personal knowledge.

       2.         I reviewed the public records of the State of Michigan on February 15, 2019 and
                  verified that Mr. James Stern is the owner of defendant National Socialist
                  Movement as of no later than January 11, 2019.

       3.         I requested clarification from Mr. Jeff Schoep, my only contact throughout this
                  litigation with both defendants National Socialist Movement and Nationalist Front.
                  Mr. Schoep is also an individual defendant.

       4.         Mr. Schoep responded by e-mail. While his response was not crystal clear on each
                  and every particular, it did seem to confirm that Mr. Stern was authorized to act on
                  behalf of NSM. It further was explicit in firing Mr. Woodard and myself from this
                  case.

       5.         Mr. Woodard and I therefore must consider ourselves as fired/no longer authorized
                  to act on behalf of defendants Jeff Schoep, National Socialist Movement, or
                  Nationalist Front.
                                                       1
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on
       February 21, 2019


                                                        s/ James E. Kolenich________
                                                        James E. Kolenich




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